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                                                                                                          CLERK, U.S. DISTRICT COU,RT
                                                                                                             ST, PAUL, MINNESOTA



                                                                                                                                         t
  Michael Bui <michaelbuil 95@gmail.com>                                                                   Tue. Feb 16,2A21 at 3:52      +
  To: Flora Tran <Floratran2020@gmail.com>

     hi baby this week you can read what did i tell DEED AND MINNESOTA GOVERNMENT loday and last week only youl
     can read this forrnyou hear me ? therefore for an example any one in THAILAND in VIETNAM in JAPAN                     in
     MTNNESOTA and around the United States you musl listen to me i mean if i win my lawsuit my matter for                 some          I

                                                                                                                                         I

     reasons and the United States hetp you too i mean the United States help you to be a new comer in the United State!
     when you are not md for some reasons and you can have foods and drinks very cool in the Uniled States and later
     you can tearn English and you €n marry a while bitch you hear me people ? because iwittagainst you for                  some        I



                                                                                                                                         I
     reasons and iwill file the lorm and this email at DEED AND MINNESOTA GOVERNMENT and include i would like to                         i


     file the form and this email at the U.S. Military Court today you hear me Military people ? because last week i told
     Military people we will against each other about the number 5. in my complaint and Military people you must listen to
     me i mean i knew you love your Dear for some reasons but i love my Dear loo i mean my future wife you hear                  me
     Military people ? i mean a sentence of the prison time for you or for me as soon as possible for some reasons if             a.     I



                                                                                                                                         I


     sentence of the prison time for me you musl speak very cool and make sense for some reasons or you can remedy
     me da wife
     ltlE   vvltE dtlu a ||Jt
                  and ct      of lttuttEy
                         lot trt money for    some aEdJvrr9
                                          tvt JvrrtE            mean Ii rrsve
                                                     reasons |i rrrssrr          idea you
                                                                              an .vve
                                                                        have qrr      tvs tell
                                                                                          .e]r the  represent of french community
                                                                                               ..tv rvr'rvgv                      or
                                                                                                                        --'-"-'----:J -'
                                                                                                                                         ;



                                                                                                                                         I
                                                                                                                                         I

     something tike that do you have a virgin white girl about twenty five years old for Mr. Buior you willgo to the prison for
     some reasons thank you for reading baby Flora Tran
     [Ouoted text hrddenl


         5 attachments




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       THIS IS MY STATEMENT FOR THIS TUESDAY JANUARY 19. 2021 FOR
       I CLAIM FOR UNEMPLOYMENT BENEFIT AND I HOPE I CAN RECEIVE
       TWO CHECKS ONE FOR $3OO.OO AND ANOTHEB ONE FOR $62,00
       AND I HOPE I CAN PUT MY STATEMENT IN THE FORM TODAY BUT
       ABOUT 7.OOAM TODAY WHEN I ENTER MY SOCIAL SECUR\TTY
       NUMBER AND PASSWORD AND WHEN I CLICK AT THE COVID-19
       OUESTION I SAID YES AND THEN I SUBMIT THE FORM I SEF A
       MESSAGE THIS WEEK I WILL RECEIVE 562-00 OR SOMETHING LIKE
       THAT THEREFORE I WILL MAIL MY STATEMENT TO YOU AT MN
       DEPARTMENT OF EMPLOYMENT AND ECONOMIC DEVELOPMENT
       rHE OFFICE OF DIVERSITY AND EQUAL OPPORTUNITY FIRST
       NATIONAL BANK BUILDING . SUITE E2OO 332 MINNESOTA STREET
       ST. PAUL, MN 55101-1351 AND I WILL EMAIL DEED AND MINNESOTA
       GOVERNMENT AT DEED.ODEO(Qstate.mn.rrs OBIAND FAX AT 651 -297-5343
       T}{ANK YOU FOR READING MY STATEMENT



          on January 5,2021 my stalement i said No transportatiort because the job is nol
on ihe bus line and no lransportation plans because Atlas Stafling no hire do you
 remember i stillclaim Covid-19 no allow for work but i go to work and my statement
after i go to work i mean i serrt two emails to people do you want 1o read nty two ernails
 DeecJ ? and remedy yes or no ? and about my two emails i mean the first enrail i sent it
to Stephanie Darlene and her email is stephaniedarlene8€Qgntail.com i told her like this
i rrearr on Friday, November 27, 2OZA i said bitch this tuesday i claimed Covid-'l g but
loday i didn't receive $123.00 unenrployment benelit i mean i claimed at v;ork i rrtearr i
am not al home when i clairned Covid-19 and i click yes at the question Covid-l9 and i
hid about my temp agency name Randstad i mean DEED fucked up drop my federal
stick and orrly one stick DEED drop too and lawsuit look like done but i still hope my
ner.ry stick can arrest a lot oi people from DEED and become poweful arrest a lot of
people around the Uniled States for i can have a wife as soon as possibie and the
remcdy money for darnaged i rnean lile damaged anci you know urhat let me tell you
something lhat mean i have no stick right now and i hclpe i can lrave my disability
trenefit too make sense babv ? bye bye and my second ernail i sent it to a vietnamese
girl i rttean i rnet her online at wwv.vietsingle-com and her email is
yennganOT9(Qyalroo.corn itold her like this i mean on Wednesday, Decerrrber 16, 2020
i said what mean ? you know what am i saying ? what am i talking about ? that mean i
guess tlre reslaurants and the supermarket or something like that the manaqers iear rtre
enter their place for make a killing spree that why their lawyers lock up their businesses
but the managers can buy the stock rnarket therefore i hope my stick getting powerful i
mean the police or the U.S- Army take some of the managers like that and their lawyers
to the prison for pay fine for no more buy the stock market trecause for some reasons
the managers can not be cool when they buy the stock markel and i want to beat up
these defendants up because now no more lalk about a killing spree in this ntatter fcrr
sorne reasons i mean now lhe people talk about find rne a wife as soon as possible and
tlre remedy money for damaged my life for some reasons only bye bye baby yes DEED
and Minrresclta Governmenl you need to answer people attd me a lot of questions you
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hear me '/ and on January 12,2021 when i claim for unemployment benelit i said i
wotrld like lo keep what did i say on .January 5. ?-O21 for issues and i told Vielnarn
Thailand China and Japan against me and i against their country i mean each country
above and include Minnesota responsible for darnaged rny lile and you must remeciy
rne a wife and a lot ol money for some reasons i am cool make sense Deed and
people ? therefore Deed and Minnesota Government i mean the people of Minnesota
answer me a lot of questions when you are a resident in Minnesota or/and you are lrom
Calitornia or something like that i mean all of you must answer me a lot ol questions for
an example after yorr read this form please be quiet and be nice to me only or you don't
have loods and drinks very cool in Minnesota lor some reasons because we are againsl
each otlrer lry black or/and white sticks i mean we will use american laws lor against
each other and all of you must count me like a white male lor some reasons you hear
me people ? and all of you be careful i ask the police arresl a few of you for an example
i think you are a criminal if so i will ask the police or something like that go to a few
diflerenl states i mean for an example California Georgia Louisiana New York and
Florida i mean i just want to say fuck yorr too yotr hear me the people of these states ?



DATED: January 19,2021            sTGNED     /vl*lr&L d s-'*
                                            MICHAEL JOHN BUI
                                            8332 BLAISDELLAVE S
                                            BLOOMINGTON, MINNESOTA 55420
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Rm          MrNNesorA
            UNEMPTOYMENT INSURANCE
                                                                                              Tuesday, March 1 6,       202,,1


                                                                                                                            I




                                                                                                                            I
Applicant   Self-Service      Log Off                                                   " lndicates Required Fibld


My Account Home Fagc
                               You indicated that you were not available for work. Please select the
Apply for Benefits             reason(s) why.
Future Bene{its Estimate
Request Benefit Payment
                               *Select all that apply:
Reemployment Activiiies
                                                                              School or Training (Not High
Mew and Maintain My Account
                                il   lllness or Injury                  n InSchool)
   Change,Passw-ord             tJ No Child care                        n On Vacation
                                D Self-employment                       n Out of Town
         Lsg-Qfi                I    Volunteer Work                     n Personal Reasons
                                                                            Incarcerated, Home Monitoring,
                                9l   No Transportation                  U   Court Ordered Community
                                                                            Service
                                ,-., Family or Domestic
                                -    Resoonsibilities



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                                                             Acccssibii:ty I Pnvacy and secunty I System regu:remenls
               CASE 0:21-cv-01156-SRN-DTS Doc. 1-1 Filed 05/04/21 Page 5 of 9




nm          MrNNesorA
            UNEMPLOYMENT INSURANCE
                                                                                        Tuesday, March 16,2021




Applicant   Self-Service    Log Off                                                 * Indicates Required Field


              Pagc
My Account Home
                                 please review your responses carefully for the week of sunday,
Apply for Benefits               O3lO7l2O21 through Saturday, AU1312021-
Future Benefits Estimate
Reguest Benefit Payment             *      r {'r   r   rr   -, ,
Rcemployment Activities
View and Maintain lr4y Accounr      Please be accurate in your responses. The information you provided
                                 '!-:
                                 willbe verified through electrorric nratching with information provided by
                                                                      accurate inrormation mav resurt in a
   chanse  passworcr #i{;#*::J:,[',?H':f[Ji!}ide
         Lpg.Qff     Please answer the following questions carefully for the week of Sunday,
                                 03107 /,2021      through Saturday, 93113/,2021.

                                 1. * Did you work or have a paid     holiday                No
                                    during the reporting period listed above?
                                    This includes Fu.ll Time , Part llme ,
                                    Iernnamry-Wafi , Self EmplpYltrenl or
                                    V.olunteer VYork.
                                 2. " For the time period above, did    you/will             No
                                    you receive income from any other source
                                        that you have not already reported to
                                        us? Answer "yes" if you applied for
                                        another source of income for the period
                                        above. bul have not received that income
                                        yet-

                                    Please click Here for examples of other
                                    income sources
                                 3. During the above period:
                                    " Did you refuse an offer of suitable                   No
                                    employment?
                                    * Did you quit a job? lf you have already               No
                                    reported the quit, do not report it again.
                                    * Were you discharged from a job? lf you                No
                                    have already reported the discharge, do
                                    not report it again.
                                 4. During the above period:
                                    " Were you available for work? (This                    No
                                    includes being medically able to work.)                                   ,
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               " Did you look for work?                               No
            5. Please read the question below
               carefully.
               * Unemployed Due to COVlDlg? -                        Yes
               During the reporting period listed above,
               has it been difficult to find a job or have
              you had your hours reduced due to
              COVlDl9? lf you're not sure please
              revi eyq thjsjnform atiq,.n.




           You indicated that you were not available for work. Please select the
           reason(s) why.

           *Select all that apply:


            No Transportation



             *During the week A OjgtOttZO2l through O3/1 3l2o21which days could
                   you not have accepted work because you did you not have
                                       transportation?
                                     Select all that aPPly:

                                      Monday
                                      Tuesday
                                      Wednesday
                                      Thursday
                                      Friday
           * Select one statement below, and provide the requested details:
           I do not have transportation available to rne, but I am trying to find
           transportation.
               List your efforts to find transportation during 0310712O21 to
               o3t13t2021.
               i would like to keep what did i file on Tuesday, February 16,2021 i
               mean iemailed you DEED AND MINNESOTA GOVERNMENT i
               mean i sent the form and an email i sent it to Flora Tran on Tuesday,
               February 16,2021and her email is Floratran2020@gmail.com and
               you must read my statement include and you must understand what
               do iwant full details otherwise you will go to the prison for some
               reasons and i mean the documents above very powerfulfor some
               reasons and my mafier no black people for judgement or/and the vc
               people for judgement and you judgement my matter my lawsuit as
               soon as possible because this is a lawsuit i sue you you hear me
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                DEED AND MINNESOTA GOVERNMENT and the U.S. Military
                people and the U.S. Military Court ?
               Why is no transportation available to you?
               What transportation plans do you have if you are offered a job?
               What transportation plans do you have if you are offered a job?
               ls public transportation,
               such as buses, available Yes
               to you?
               lf yes:
                 Are you willing to use
                 public transportation to
                 search for work and Yes
                 commute to work if you
                 are offered a job?
                 lf no, why not?
            lf you want to provide any additional information about this issue,
            provide it below:
            AA-1204




           Click here to print this summary




                                          Acccssibility, I Privacy and secunty I System regu:rcrnenls
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nnl MrNNesorA   UNEMPLOYM ENT I NSURANCE
                                                                                                      Tuesday, March 16, 2A2'l




Applicant       Self-Service   Log Off                                                       * Indicates Required Field


My
     'Accounl
                Home   Page     your request has been received on March 16,2021 08:42
Apply for Bencfits
Future Benefirs   Estimate   Pending issues have been identified with your account. You are not
Reernployment     Activities currently authoriZed to receive payment.
Mew an<t Mainrain My Account You have iust requested payment for the last week of your benefit year.
                             Your benefit year ended on March 13,2021. lf you wish to request
     change      password                                                                            ::ffiffii;'?:,o,
                                Piffi1':ffi',J[1H:,f;:? il?ji,H::-::';i,il,3'?,ff
                                 Benefits to complete a new application.
            Lag   off
                                Your remaining balance on this account is $144.00
                                Your benefit year has ended for your last benefit account. lf you are now
                                unemployed, select Apply for Benefits to begin a new application.


                                You can Request Payment or View and Maintain your account online
                                Monday through Friday from 6:00 A.M. to 6:00 P.M. (CentralTime)

                                                      R   gts rn J arqccau   n   tllsme-Pa   g   I
                                Print this confirmation for your records.


                                                                 Acccssibility I Privacy and security tSystem requrrements
                                                                                                                                             i

Gmaif   - THls ls MY
                          CASE 0:21-cv-01156-SRN-DTS Doc. 1-1 Filed 05/04/21 Page 9 of 9
                       STATEMENT                                                                                                  4!27t21, sf rz   nu

                                                                                                                                             I




 Michael Bui           <michaetbuilg5@gmail.com>                                                              Tue, Apr 27,2A21 alS'f S]nf,rl
 To: "ODEO, DEED (DEED)"       <DEED.ODEO@state.mn.us>                                                                                       |


                                                                                                                                             I


    hi DEED did you file my complaint yet ? iwant to fight my case to each slate in America and include Japan i mean I
    which state allow me to win at teast a couple million united states dollars as soon as possible and include a beautiful'
    white bitch she is about twenty five years old and she is a virgin white girl orland the country of Japan allow me to win
    at least a couple million united states dollars as soon as possible and include a beautifuljapanese bitch she is about
    twenty five years old and she is a virgin japanese girl for some reasons otherwise the defendants can not show cool in
    front of me like that i mean about two weeks ago i saw a lot of the U.S. National Guard in Minnesota i mean i saw the
    japanese U.S. National Guard inclr.rde lherefore lhe new pandemic is my stick only i mean i will asked the state                 of      r



    Minnesota please keep atl the vehicles of the U.S, National Guard and possible some of the U.S. National Guard willl
    go to the prison for some reasons and Donald Trump the presidenl of lhe united states need someone look like my                          I


    man shoot him when he is go outside or what ? i mean Mr. Donald Trump was lost his slick for some reasons i mean li
    wrote my complaint on April 6,2021imean my complaint is very powerfulfor some reasons and iwon Mr. Donald                                I


    Trump stick when he was against me for some reasons make sense ? and if the defendants above go to the prison fcir
    some reasons their state witl pay me a lot of money for some reasons is that right ? and the defendants above includb
    the iapanese U.S. National Guard for some reasons and i want to file my documents loday thank you for reading
    [Ouoled text hiddenl


        2   attachments




                                Scan.jpeg
                                195K




                                Scan l.jpeg
                                292K




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